          Case 1:21-cr-00679-JEB Document 74 Filed 04/14/23 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                  :
                                           :
  v.                                       :         No. 1:21-cr-00679-JEB
                                           :
ROBERT WAYNE DENNIS.                       :



                               NOTICE OF APPEAL

       COMES NOW DEFENDANT, Robert Wayne Dennis, by and through appointed

appellate counsel, and hereby files this Notice of Appeal to the United States Court of

Appeals for the District of Columbia Circuit, from this Court’s final judgment entered

on April 14, 2023, [72] appealing all decisions of this Court whether pre-trial, or in-

trial, or post-trial, and the Court’s sentence imposed in this case.

                                                   Respectfully Submitted,




                                                   Allen H. Digitally signed by
                                                            Allen H. Orenberg

                                                   Orenberg Date: 2023.04.14
                                                            13:55:10 -04'00'
                                                   _____________________________
                                                   Allen H. Orenberg, # 395519
                                                   The Orenberg Law Firm, P.C.
                                                   12505 Park Potomac Avenue, 6 th Floor
                                                   Potomac, Maryland 20854
                                                   Tel. No. 301-984-8005
                                                   Cell Phone No. 301-807-3847
                                                   Fax No. 301-984-8008
                                                   aorenberg@orenberglaw.com
                                                   Counsel for Robert Wayne Dennis


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                            CERTIFICATE OF SERVICE

    I hereby certify that on April 14, 2023, I filed by CM/ECF the foregoing Notice of

Appeal. All case registered parties will be sent notification by CM/ECF.




                                                                    Digitally signed
                                                Allen H.            by Allen H.
                                                                    Orenberg
                                                Orenberg            Date: 2023.04.14
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                                                __________________________________
                                                Allen H. Orenberg.




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